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                         IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION




 CORPORATIONS FOR CHARACTER,                                           ORDER
 L.C.,

                        Plaintiff,
                                                            Case No. 2:11-cv-0419 CW
 v.
                                                            Judge Clark Waddoups
 FEDERAL TRADE COMMISSION,

                        Defendant.




       This matter is before the court on defendant Federal Trade Commission’s Motion to Dismiss

for lack of jurisdiction. A hearing on Defendant’s motion was held before the Honorable Clark

Waddoups on March 8, 2012. Daniel Ferrel McInnis, Matthew G. Cooper, and Russell D. Harris

appeared on behalf of Plaintiff Corporations for Character, L.C. Drake Cutini appeared on behalf

of Defendant. After due consideration of the parties’ filings and oral arguments, and otherwise being

fully advised,

       IT IS HEREBY ORDERED, for the reasons stated on the record, that Defendant’s Motion

to Dismiss is GRANTED.1 Currently, Plaintiffs are attempting to transfer a related action in Florida

to this venue. If Plaintiffs are successful in having the case transferred, the court will consolidate

the case with this action, as the lower-numbered case, pursuant to DUCivR 42-1. Each party shall




       1
           Docket No. 17.
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bear its own costs associated with this motion.

       DATED this 19th day of March, 2012.

                                                        BY THE COURT:



                                                        ____________________________________
                                                        Clark Waddoups
                                                        United States District Judge




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